              Case 18-23499-CMB                   Doc 1      Filed 09/03/18 Entered 09/03/18 19:17:02                              Desc Main
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Fill in this information to identify your case:

United States Bankruptcy Court for the:

WESTERN DISTRICT OF PENNSYLVANIA

Case number (if known)                                                      Chapter      11
                                                                                                                           Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/16
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Century III Mall PA LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  9101 Alta Drive, Suite 1801
                                  Las Vegas, NV 89145
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Clark                                                           Location of principal assets, if different from principal
                                  County                                                          place of business
                                                                                                  3075 Clairton Road West Mifflin, PA 15123
                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       www.centuryiiimall.com


6.   Type of debtor                  Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                   Partnership (excluding LLP)
                                   Other. Specify:




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                                                                                         9 number (if known)
          Century III Mall PA LLC
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                        Tax-exempt entity (as described in 26 U.S.C. §501)
                                        Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                        Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                5313

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?
                                        Chapter 7
                                        Chapter 9
                                          Chapter 11. Check all that apply:
                                                             Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                 are less than $2,566,050 (amount subject to adjustment on 4/01/19 and every 3 years after that).
                                                             The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                 business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                 statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                 procedure in 11 U.S.C. § 1116(1)(B).
                                                             A plan is being filed with this petition.
                                                             Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                             The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                             The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                        Chapter 12


9.   Were prior bankruptcy
     cases filed by or against
                                        No.
     the debtor within the last 8       Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                           Case number
                                                 District                                 When                           Case number


10. Are any bankruptcy cases
    pending or being filed by a
                                        No
    business partner or an              Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                      Debtor                                                                 Relationship
                                                 District                                 When                          Case number, if known




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Debtor
                                                                Document      Page 3 ofCase
                                                                                        9 number (if known)
         Century III Mall PA LLC
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                      Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                       preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                      A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or
    have possession of any
                                 No
    real property or personal    Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                   Why does the property need immediate attention? (Check all that apply.)
                                            It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                             What is the hazard?
                                            It needs to be physically secured or protected from the weather.
                                            It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                             livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                            Other
                                           Where is the property?
                                                                            Number, Street, City, State & ZIP Code
                                           Is the property insured?
                                            No
                                            Yes. Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .       Check one:
    available funds
                                         Funds will be available for distribution to unsecured creditors.
                                         After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of          1-49                                           1,000-5,000                               25,001-50,000
    creditors                                                                    5001-10,000                               50,001-100,000
                                 50-99
                                 100-199                                        10,001-25,000                             More than100,000
                                 200-999

15. Estimated Assets             $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                 $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                 $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                 $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion

16. Estimated liabilities        $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                 $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                 $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                 $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion




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 Fill in this information to identify the case:
 Debtor name Century III Mall PA LLC
 United States Bankruptcy Court for the: WESTERN DISTRICT OF                                                                                      Check if this is an
                                                PENNSYLVANIA
 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Sears                                                                                  Disputed                 $4,212,316.86                         $0.00          $4,212,316.86
 c/o Adam J.
 Ventura, Esq.
 DICKIE,MCCAMEY &
 CHILCOTE, P.C.
 Two PPG Place,
 Suite 400
 Pittsburgh, PA
 15222
 Olsen Restoration,                                                                     Unliquidated                                                                    $832,105.52
 LLC.
 697 S. Pierce
 Avenue
 Louisville, CO 80027
 West Mifflin                                                                           Unliquidated                                                                    $698,793.14
 Borough
 1020 Lebanon Road
 West Mifflin, PA
 15122
 Siegel Jennings Co.,                                                                   Unliquidated                                                                    $262,288.52
 L.P.A.
 23425 Commerce
 Park Drive, Suite
 103
 Cleveland, OH 44122
 John Weinstein                                                                         Unliquidated                                                                    $146,024.56
 AlleghenyCounty
 Treasurer
 P.O. Box 643385
 Pittsburgh, PA
 15264-3385
 Kone, Inc.                                                                             Unliquidated                                                                      $89,157.00
 One Kone Court
 Moline, IL 61265




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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 Debtor    Century III Mall PA LLC                                                                            Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Legal Tax Service                                                                      Unliquidated                                                                      $85,901.12
 Inc
 C/O Gerik Jenco,
 Esquire,
 714 Lebanon Road
 West Mifflin, PA
 15122
 U.S. Security                                                                          Unliquidated                                                                      $58,835.38
 Associates
 P.O. Box 931703
 Atlanta, GA
 31193-1703
 Guerra Excavating,                                                                     Unliquidated                                                                      $49,822.50
 Inc
 132 Homeridge Lane
 Homestead, PA
 15120
 Johnson Controls                                                                       Unliquidated                                                                      $20,683.27
 Fire Protection
 Dept CH 10320
 Palatine, IL 60055
 Constellation                                                                          Unliquidated                                                                      $15,455.09
 NewEnergy,Inc
 P.O. Box 4640
 Carol Stream, IL
 60197-4640
 John D Caruso, Inc.                                                                    Unliquidated                                                                      $11,550.00
 1029 Forest Avenue
 West Homestead,
 PA 15120
 Alliant Insurance                                                                      Unliquidated                                                                        $7,141.16
 1301 Dove Street,
 Suite 200
 Newport Beach, CA
 92660
 Traffic Control                                                                        Unliquidated                                                                        $3,251.73
 Equip and Supplies
 P.O. Box 18348
 Pittsburgh, PA
 15236
 Steratore Sanitary                                                                     Unliquidated                                                                        $1,686.38
 Inc
 P.O. Box 16
 Washington, PA
 15301
 Comcast                                                                                Unliquidated                                                                        $1,562.17
 P.O. Box 3001
 Southeastern, PA
 19398




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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 Debtor    Century III Mall PA LLC                                                                            Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Veritext Mid-Atlantic                                                                  Unliquidated                                                                        $1,393.42
 1801 Market St.,
 Suite 1800
 Philadelphia, PA
 19103
 Pestco Professional                                                                    Unliquidated                                                                          $898.80
 Services LLC
 290 Alpha Drive
 Pittsburgh, PA
 15238
 SESAC, Inc.                                                                            Unliquidated                                                                          $796.00
 35 Music Square
 East
 Nashville, TN 37203
 Tennant Sales and                                                                      Unliquidated                                                                          $439.08
 Service
 PO BOX 71414
 Chicago, IL
 60694-1414




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3

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                                                               United States Bankruptcy Court
                                                                     Western District of Pennsylvania
 In re      Century III Mall PA LLC                                                                           Case No.
                                                                                    Debtor(s)                 Chapter    11




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Century III Mall PA LLC in the above captioned action, certifies that the following is
a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any
class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



 None [Check if applicable]




 August 31, 2018                                                        /s/ Kirk B. Burkley
 Date                                                                   Kirk B. Burkley 89511
                                                                        Signature of Attorney or Litigant
                                                                        Counsel for Century III Mall PA LLC
                                                                        Bernstein-Burkley, P.C.
                                                                        707 Grant Street
                                                                        Suite 2200
                                                                        Pittsburgh, PA 15219
                                                                        (412) 456-8100 Fax:(412) 456-8135




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